                              UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF TENNESSEE
                                    at CHATTANOOGA

 UNITED STATES OF AMERICA                             )
                                                      )       Case No. 1:12-cr-143
 v.                                                   )
                                                      )       COLLIER / LEE
 HANK SHERWOOD                                        )


                                             ORDER

        Magistrate Judge Susan K. Lee filed a report and recommendation recommending the Court:

 (1) grant Defendant’s motion to withdraw his not guilty plea to Count One of the seven-count

 Superseding Indictment; (2) accept Defendant’s plea of guilty to the lesser included offense of the

 charge in Count One, that is of conspiracy to manufacture and distribute methamphetamine (actual),

 a Schedule II controlled substance, in violation of 21 U.S.C. §§ 846, 841(a)(1), and 841(b)(1)(C);

 (3) adjudicate Defendant guilty of the lesser included offense of the charge in Count One of the

 Superseding Indictment, that is of conspiracy to manufacture and distribute methamphetamine

 (actual), a Schedule II controlled substance, in violation of 21 U.S.C. §§ 846, 841(a)(1), and

 841(b)(1)(C); (4) defer a decision on whether to accept the plea agreement until sentencing; and (5)

 find Defendant shall remain in custody until sentencing in this matter (Court File No. 214). Neither

 party filed a timely objection to the report and recommendation. After reviewing the record, the

 Court agrees with the magistrate judge’s report and recommendation. Accordingly, the Court

 ACCEPTS and ADOPTS the magistrate judge’s report and recommendation (Court File No. 214)

 pursuant to 28 U.S.C. § 636(b)(1) and ORDERS as follows:

        (1)     Defendant’s motion to withdraw his not guilty plea to Count One of the Superseding

                Indictment is GRANTED;

        (2)     Defendant’s plea of guilty to the lesser included offense of the charge in Count One,



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             that is of conspiracy to manufacture and distribute methamphetamine (actual), a

             Schedule II controlled substance, in violation of 21 U.S.C. §§ 846, 841(a)(1), and

             841(b)(1)(C) is ACCEPTED;

       (3)   Defendant is hereby ADJUDGED guilty of the lesser included offense of the charge

             in Count One, that is of conspiracy to manufacture and distribute methamphetamine

             (actual), a Schedule II controlled substance, in violation of 21 U.S.C. §§ 846,

             841(a)(1), and 841(b)(1)(C).

       (4)   A decision on whether to accept the plea agreement is DEFERRED until sentencing;

             and

       (5)   Defendant SHALL REMAIN in custody until sentencing in this matter which is

             scheduled to take place on Thursday, November 7, 2013 at 9:00 a.m. before the

             Honorable Curtis L. Collier.

       SO ORDERED.

       ENTER:

                                            /s/
                                            CURTIS L. COLLIER
                                            UNITED STATES DISTRICT JUDGE




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